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 9

10                           IN THE UNITED STATES DISTRICT COURT
11                                FOR THE DISTRICT OF ALASKA

12
      UNITED STATES OF AMERICA,                    )     No. CRl 1-022-RJB
13                                                 )
14                           Plaintiff,            )
                                                   )     DEFENDANT'S NOTICE OF
15                                                 )     APPELLATE RIGHTS
                       v.
                                                   )
16
      FRANCIS SCHAEFFER COX,                       )
17                                                 )
                             Defendant.            )
18                                                 )
19            I, Francis Schaeffer Cox, the defendant in this case, have been advised of my

20   right to appeal and the procedures related to filing a notice of                     by my attorney,

21   Federal Defender Michael Filipovic.
22
     Dated:    !I~          - Iq
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25
     Dated:     f
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26                                            - Mknael Filipovic, Fe~1~fender         /
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 1                                CERTIFICATE OF SERVICE
 2          I certify that on November 8, 2019, I electronically filed the foregoing notice
 3   with the Clerk of the Court using the CM/ECF system, which will send notification of
 4   filing to all registered parties. I further certify I mailed a copy of the document to
 5   Francis Schaeffer Cox at FDC SeaTac.
 6
                                                 s/ Suzie Strait
 7                                               Paralegal

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